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                  IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISON
                                      )
                                      )  Chapter 7
IN RE: Keel Ann Edwards
                                      )
                                      )  Case No.: 18-07316-JMC-7
                   Debtor(s).
                                      )
                                      )   James M. Carr

           DEBTOR’S MOTION TO REOPEN CASE IN ORDER TO SET ASIDE A
                         NOTICE OF NO DISCHARGE

               The Debtor, by and through counsel, the Geraci Law L.L.C., respectfully requests
    the Court allow the debtor to reopen her Chapter 7 Bankruptcy case so that she may file a
    Financial Management Course Certificate proving compliance with the instructional
    course requirement for discharge. In support of her Motion, the debtor submits the
    following:
               (1)        The Debtor(s) filed for relief under Chapter 7 of the U.S. Bankruptcy
                          Code on 09/24/2018.
               (2)        The Debtor seeks to have the Court reopen her bankruptcy case so that she
                          may file the Financial Management Course Certificate and receive a
                          discharge of her debts.
               (3)        The Financial Management Course Certificate and required statement of
                          completion will be contemporaneously filed with this motion.
               WHEREFORE, the Debtor prays the Court reopen her Chapter 7 Bankruptcy case
    to afford relief to the debtor pursuant to 11 U.S.C. §350(b) and for the purpose of
    allowing the Debtor to file the Financial Management Course Certificate.

               Dated this Friday, July 19, 2019.
                                                         Respectfully submitted,

                                                         By: _/s/ Anthony David Shull____
                                                            Anthony David Shull
                                                            55 E. Monroe, #3400
                                                            Chicago, IL 60603
                                                            Phone:(312) 332-1800
                                                            Fax: (877) 247-1960
                                                            E-mail: inn@geracilaw.com



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                                              CERTIFICATE OF SERVICE

          The undersigned, an Attorney, does hereby certify that a copy of this Certificate
  of Service and a copy of the attached Debtors Motion to Reopen Case In Order To Set
  Aside A Notice of No Discharge were mailed First Class to the persons mentioned below,
  at their respective addresses, postage prepaid, by placing a copy in the U.S. Mail on
  Friday, July 19, 2019:

  Keel Edwards
  4865 Richland Dr
  Columbus, OH 43230

        Additionally, the documents referenced above were also served via electronic
  means on the following individuals on Friday, July 19, 2019:

  United States Trustee                                             Gregory S. Fehribach
  Southern District of Indiana                                     Stark, Doninger & Smith
  101 W. Ohio St., Ste. 1000                                       50 S. Meridian St. #700
  Indianapolis, IN 46204                                           Indianapolis, IN 46204


  Dated this Friday, July 19, 2019.

                                                          By: _/s/ Anthony David Shull____
                                                             Anthony David Shull
                                                             55 E. Monroe, #3400
                                                             Chicago, IL 60603
                                                             Phone:(312) 332-1800
                                                             Fax: (877) 247-1960
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